                                               United States District Court
                                       STATE AND DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA                                                        GOVERNMENT=S EXHIBIT LIST
          v.                                                                    Criminal No. 23-358 (JMB/TNL)
DERRICK JOHN THOMPSON
 PRESIDING JUDGE                                 PLAINTIFF'S ATTORNEY                            DEFENDANT'S ATTORNEY


 The Honorable                                   Ruth Shnider, AUSA                              Aaron Morrison, AFD
 Jeffrey M. Bryan                                Tom Calhoun-Lopez, AUSA                         Matthew Deates, AFD
 TRIAL DATE(S)                                   COURT REPORTER                                  COURTROOM DEPUTY

 October 7, 2024
PL. NO.   DEF.   DATE      MARKED   ADMITTED                            DESCRIPTION OF EXHIBIT
          NO.    OFFERED


                                                             Stipulation
1                                              Stipulation Regarding Felony Status
                                                         Physical Evidence
2                                              Black leather bag recovered from Escalade
3                                              Glock model 27 .40 caliber semiautomatic pistol (serial # BWKA073)
                                               recovered from black bag
4                                              Extended magazine from firearm
5                                              Thirteen rounds of ammunition from firearm magazine
6                                              One round from chamber of firearm
7                                              iPhone with green case recovered from front passenger floor of Escalade
8                                              Blue iPhone recovered from center console of Escalade
9                                              Black/purple Motorola cell phone recovered from front passenger floor of
                                               Escalade
10                                             Digital scale recovered from Escalade
11                                             Dodge keys recovered from Escalade
12                                             Blue hat recovered from Escalade
13                                             Red baggie containing suspected marijuana recovered from Escalade
14                                             Fentanyl powder recovered from black bag
15                                             Blue fentanyl pills recovered from black bag
16                                             Miscellaneous multi-colored pills recovered from black bag
17                                             Cocaine recovered from black bag
18                                             Miscellaneous multi-colored pills recovered from black bag

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19                                             Packaging from fentanyl powder
20                                             Packaging from fentanyl pills
21                                             Packaging from misc. pills
22                                             Packaging from cocaine
23                                             Packaging from misc. pills
24                                             Defendant’s gold necklace with pendant
25
26
27
                                                        Photos / Images
28                                             Photos of State Patrol squad vehicle
29                                             Aerial maps of I-35W from 46th Street to Lake Street
30                                             Aerial diagram of crash scene (Lake Street and Second Avenue)
31                                             Scene Photos of Cadillac Escalade (MN JPR-235) [selections from MPD
                                               Crime Lab photos]
32                                             Still images of Defendant at scene
33                                             Stills from cell phone video filed by witness M.M
34                                             Photos of search warrant of Cadillac Escalade (MN JPR-235) and items
                                               recovered [selections from bates 1084-1139, 3918-3963]
35                                             Photos of MPD swab envelopes from Escalade interior, firearm, two
                                               phones [bates 3958-3959]
36                                             Photos of Escalade Airbag (BCA Item 7) [bates 2670-71]
37                                             Photos of Defendant’s known DNA sample [bates 3960-3961]
38                                             Photos of Damarco Thompson’s known DNA sample [bates 3916-3917]
39                                             Photos of crash victims’ known DNA samples [bates 3964-3973]
40                                             Photos of BCA DNA swab envelopes [bates 3618-3621]
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                                                    Documentary Records
44                                             Defendant HCMC Discharge Summary [bates 1874-1878]
45                                             Hertz Rental Records [bates 1036-1047]
46                                             Demonstrative/Summary Chart: DNA Testing Results
47                                             Derrick Thompson Fingerprint Card – 8/9/2017 [bates 4174-4175]
48                                             Derrick Thompson Fingerprint Card - 6/19/2023 [bates 3554-3555]
49                                             Certified Copy of Factual Basis for Guilty Plea (Cal. Sup. Ct. Case
                                               No. 18CR08676) [bates 2418, 2422-23]
50                                             Witness K.W. Grand Jury Transcript [bates 4502-4527]
51
52
                                                            Recordings
53                                             6/16/23 MN Dep’t of Transportation traffic camera footage – I-35W
A-D                                            (10:10pm – 10:11pm) – with indicators for Escalade & Trooper
                                                   A. 42nd Street view
                                                   B. 38th Street view
                                                   C. 35th Street view
                                                   D. 33rd Steet view
54                                             6/16/23 Trooper Guerra Squad Cam Clip (10:09pm – 10:12pm)
55                                             6/16/23 Trooper Guerra BWC Clip (10:11pm – 10:12pm)
                                                  - With transcript for in-court
56                                             6/16/23 Minneapolis PD Officer Bady BWC Clip (10:20pm–10:21pm)
                                                  - With transcript for in-court
57                                             6/16/23 Minneapolis PD Officer Damon BWC Clip (10:22pm–10:23pm)
                                                  - With transcript for in-court
58                                             6/16/23 Minneapolis-St. Paul Airport Surveillance Video – Dodge
                                               Challenger Entry
59                                             6/16/23 Hertz Surveillance Video (original & corrected time-stamps)
A-D                                               A. Entry
                                                  B. Customer Service Booth
                                                  C. Vehicle Selection
                                                  D. Exit Lane
60                                             6/16/23 Sabri Properties Video of Crash (regular version)
61                                             6/16/23 Sabri Properties Video of Crash (enhanced version)
62                                             6/16/23 Cell phone video filmed by witness M.M.


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65
                                                       Cell Phone Evidence
66                                             Selections of Attribution Evidence from Defendant’s Cell Phone (651-
                                               382-5066)
67                                             Text messages between Defendant and 612-428-8375
68                                             Text messages between Defendant and 651-332-0671
69                                             Text messages between Defendant and “B”
70                                             Text messages between Defendant and “Bookie”
A-B                                               A. Messages
                                                  B. Embedded Video
71                                             Text messages between Defendant and “Cortez Jenkins”
72                                             Text messages between Defendant and Damarco Thompson’s Motorola
                                               Cell Phone (651-335-4969)
73                                             Text messages between Defendant and “Indigo”
74                                             Text messages between Defendant and “Jason”
A-B                                               A. Messages
                                                  B. Embedded Video
75                                             Text messages between Defendant and “La”
76                                             Text messages between Defendant and “Little”
77                                             Text messages between Defendant and “Sd”
78                                             Text messages between Defendant and “Sd”
79                                             Text messages between Defendant and “Sky”
80                                             Text messages between Defendant and “Tati & Chuck”
81                                             Text messages between Defendant and “Santana”
A-E                                               A. Messages
                                                  B. Embedded Audio – Santana
                                                  C. Embedded Audio – Santana
                                                  D. Embedded Audio – Santana
                                                  E. Embedded Audio – Defendant
82                                             Text messages between Defendant and 480-653-4365
83                                             Emailed Flight Receipt – Derrick Thompson – Minneapolis to Phoenix
                                               (June 10, 2023)
84                                             Emailed Flight Receipt – Derrick Thompson – Phoenix to Minneapolis
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                                               (June 13, 2023)
85                                             CashApp Transfers from Defendant’s Phone to “Smook”
86                                             Selections from Shared iPhone (612-493-9760)
A-F                                                A. Selections of texts sent by Damarco Thompson
                                                   B. Text message from “2much” to “G”
                                                   C. Text messages between “2much” and 623-301-1867 (“Smook”)
                                                   D. Text messages with “Unk Gg Dale”
                                                   E. Text messages with 952-245-5249
                                                   F. Text messages with “Eddie Blackass”
87                                             Selections from Damarco Thompson Motorola Cell Phone (651-335-
A-D                                            4969)
                                                   A. Selected Attribution Evidence
                                                   B. Texts with “Bj New Number”
                                                   C. Texts with 612-638-7594
                                                   D. Texts with 612-213-8810
88
89
90
                                                         Miscellaneous
91                                             Certified Conviction Documents: Santa Barbara County, California,
                                               Case No. 18CR08676 (Evading an Officer Causing Injury; Leaving
                                               the Scene of an Accident Causing Permanent Injury; and Conspiracy
                                               to Possess Marijuana for Sale) [bates 2454-2455]
92                                             Certified Conviction Documents: Ramsey County, Minnesota, Case
                                               No. 62-CR-15-4853 (5th Degree Drug Possession) [bates 3036-3037]
93                                             BCA Fingerprint Comparison Packet: Defendant’s 5th Degree Drug
                                               Felony fingerprint card + Fingerprints from 6/19/23 booking [bates
                                               3548-3555]
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99                                             The Government reserves the right to amend this list as evidence
                                               develops in preparation for trial, at trial, on cross-examination, and
                                               in any rebuttal case




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